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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    YUETING JIA,1                                                  Case No. 19-12220 (KBO)

                        Debtor.


                                          NOTICE OF SERVICE

             PLEASE TAKE NOTICE that, on November 5, 2019, the Official Committee of

Unsecured Creditors in the above-captioned case (the “Committee”) caused a true and correct copy

of Official Committee of Unsecured Creditors’ First Request for Documents and Information

Directed to the Debtor to be served upon the parties listed on Exhibit A via electronic mail and

on November 6, 2019, the Committee caused a copy of the same to be served upon the same parties

by first-class mail.

                               (Remainder of page intentionally left blank)




1
 The last four digits of the Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
Marguerite Drive, Rancho Palos Verdes, CA 90275.


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Dated: November 6, 2019                   Respectfully submitted,
       Wilmington, Delaware

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                                           – and –

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                                          Proposed Counsel for the Official Committee of
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                                             2

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                                        EXHIBIT A

                                       SERVICE LIST


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